          Case: 1:17-md-02804 Doc #: 941 Filed: 09/06/18 1 of 7. PageID #: 21376




                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


   IN RE NATIONAL PRESCRIPTION                       MDL No. 2804
   OPIATE LITIGATION
                                                     Case No. 17-MD-2804

   This document relates to:                         Special Master Cohen

   APPLIES TO ALL CASES.                             ORDER ON DISCOVERY IN
                                                     TRACK ONE CASES, AND
                                                     AMENDING PRIOR ORDERS




          This Order shall govern the remainder of discovery proceedings in the Track 1 cases.

Except as provided herein, all previous orders of the Court concerning such discovery remain in

effect.

                                       Document Production

          1.     The Parties shall substantially complete document discovery and certify

substantial completion of all currently outstanding document production obligations by the

deadlines set out in Case Management Order No. 7, as clarified with respect to later-added

defendants in Special Master Cohen's email dated August 16, 2018. The parties shall make

substantial rolling productions using reasonable best efforts to complete production as

expeditiously as possible, with documents being produced at least every two weeks absent good

cause, and shall not unreasonably delay the production of voluminous documents until the end of

the production period. Each party shall continue to provide a weekly report on the status of its

production as previously directed by the Special Master.




SF: 280862-3
      Case: 1:17-md-02804 Doc #: 941 Filed: 09/06/18 2 of 7. PageID #: 21377




       2.      The Parties shall certify, by September 14, 2018, that their lists of custodians

include those individuals whom they believe, based on a good-faith investigation (and, where

applicable, negotiations with the opposing parties), are most likely to have non-cumulative

discoverable information related both to the bellwether jurisdictions and (as to defendants) their

national conduct. Nothing in this provision shall be construed as abrogating the requirements of

the Federal Rules of Civil Procedure or any agreement previously reached concerning any

party’s custodians. Any new requests for additional party custodians should be made as soon as

practicable and in no event later than October 1, 2018, absent good cause. Requests made for

custodial files for the first time after October 1, 2018, shall include a statement of reasons (a)

why the requested witness’s documents are needed and (b) why the witness was not previously

identified as a custodian for production purposes. A request for deposition of a witness, without

a specific and timely request for production of the witness’s custodial file, shall not itself require

production of that file. Disputes concerning custodians should be presented to the Special

Master promptly.

       3.      To the extent that information required by Case Management Order (“CMO”) No.

3 (Document and Electronically Stored Information Production Protocol) has not been supplied

for document productions made to date, the parties are reminded of their obligation to comply

with CMO No. 3 and shall provide replacement productions by September 14, 2018. Should a

party contend that CMO No. 3 does not require production of complete source and custodian

information for any portion of its production through the metadata supplied with the production,

it shall supply that information in a different way (such as a list of sources by Bates range).

Nothing in this paragraph shall require any modification or supplementation of prior productions

re-produced in this proceeding pursuant to paragraph 9(k) of CMO No. 1.



                                                  2
         Case: 1:17-md-02804 Doc #: 941 Filed: 09/06/18 3 of 7. PageID #: 21378




         4.      Any party that serves a subpoena for documents on a third party shall make any

documents produced in response to that subpoena, whether formally or informally in lieu of

formal production, available to all parties on the Ricoh production site within seven days of

processing of the documents by that party’s e-discovery vendor; such documents shall be

processed expeditiously for this purpose. Any documents previously received from such a third

party and not previously produced to all parties shall be produced within seven days of this

order.



                                 Amendment of Deposition Protocol

         The Order Establishing Deposition Protocol, entered by the Court on June 20, 2018 (Dkt.

No. 643), is amended as set forth below. Except as provided herein, the June 20 Order remains

in place and will continue to govern depositions in the MDL proceedings.

         1. No later than October 31, 2018, the parties shall agree on a deposition schedule

              extending through January 25, 2019. With respect to depositions already scheduled

              as of the date of this order, including those scheduled before October 31, 2018, the

              parties shall meet and confer in good faith to ascertain whether they should proceed

              as scheduled or should be re-set based on the Case Management Order No. 7 and this

              Order. Upon consent, the parties may proceed with depositions at any time. The

              parties are encouraged to use the time between now and October 31, 2018 for

              depositions as appropriate, in accordance with Case Management Order No 7.

              Depositions will not be unilaterally cancelled by any party except for good cause or if

              the producing party fails to confirm that documents agreed to be produced at least 14

              days in advance of the deposition have been produced by that time.



                                                   3
      Case: 1:17-md-02804 Doc #: 941 Filed: 09/06/18 4 of 7. PageID #: 21379




       2.      All new requests for depositions of party witnesses (including former employees

and independent contractors of a party), other than those disclosed by August 31, 2018 as

required in CMO No. 7, should be made as soon as possible, but in any event no later than

October 31, 2018, absent agreement of the parties or by order of the Court for good cause.

       3.      The parties will make best efforts to agree fully on the deposition schedule

referred to in paragraph 1, above. To the extent the parties cannot agree, the following

provisions will apply. From the date of this order forward, a party who is asked to provide a

deposition date for a witness shall respond to that request within five business days. If a specific

date cannot be provided by the time the response is due, the response shall explain why and

commit to a date by which a deposition date will be provided. If the responding party objects to

making a requested witness available for deposition, its response shall set forth the grounds for

that objection. If a party fails to respond as set out above to a request for deposition of one of its

witnesses, the opposing party may proceed to issue a notice for the deposition. Such notice shall

permit reasonable time for the production of the witness’s custodial files in advance of the

noticed date if such production has been requested and agreed to (or ordered by the Court) and

remains outstanding. The parties shall work together in good faith to schedule depositions as

promptly as possible while accounting for deponents’ and counsel’s schedules.

       4.      Absent contrary agreement of the parties, custodial file production, if requested

and agreed to (or ordered by the Court), must be complete at least 14 calendar days before the

deposition, and deposition dates should be set with that in mind.

       Section II.a. Examination is amended to provide:

       1. The party hosting a deposition shall provide (a) a room for the deposition that is of

sufficient size to accommodate anticipated attendance, along with wifi, (b) a break-out room for



                                                  4
      Case: 1:17-md-02804 Doc #: 941 Filed: 09/06/18 5 of 7. PageID #: 21380




each side, and (c) beverages for the witness, court reporter and videographer, and other

attendees.

       2. During examination, a break should not be taken while a question is pending except

for the purpose of permitting the witness to consult with his or her counsel concerning a possible

assertion of privilege; such consultation shall be privileged. Communications between a witness

and his or her counsel during a break taken with no question pending shall not be the subject of

inquiry. Such conversations are subject to the attorney client and work product privileges.

       3. Absent unusual circumstances, Counsel shall include Bates numbers of any document

used as an exhibit, and shall provide copies of any videos or other demonstratives used at the

deposition to the Court reporter and to opposing counsel. All exhibits, including demonstrative

aids, shall be marked by the court reporter in accordance with standard procedure. Any

demonstrative used in a deposition must be marked as an exhibit in the same medium and form

as the demonstrative prior to being shown to the witness. Any exhibit that consists of or includes

a document produced in this litigation shall bear the Bates numbers from that production and

shall be identified on the record with reference to those numbers.

       Section IV. Rule 30(b)(6) Depositions is amended to provide:

       1.      To the extent they have not already done so, the parties shall meet and confer in

good faith on any outstanding Rule 30(b)(6) notices to determine whether and to what extent

some topics may more efficiently and appropriately be responded to in writing.

       2.      By October 15, 2018, each party shall identify, by topic, the witness(es) it will

designate to testify in response to the Rule 30(b)(6) notice(s) served upon it, to the extent such

identification has not yet occurred. Nothing in this section is intended to permit a party to serve

any additional 30(b)(6) notices on any other party. Nor is anything in this section intended to



                                                 5
      Case: 1:17-md-02804 Doc #: 941 Filed: 09/06/18 6 of 7. PageID #: 21381




permit re-examination of any witness whose deposition is complete. If a witness is deposed in

his or her individual capacity and is also a 30(b)(6) designee, the time spent on 30(b)(6)

questioning shall be in addition to the 7 hours permitted for the individual deposition of the

witness, subject to the total time allowed for all 30(b)(6) questioning of that party, unless the

defending party shows that more than 7 hours with an individual witness is not justified under

the circumstances.

       3.      Consistent with the requirements of the Federal Rules, all documents relied upon

by a witness in preparing for 30(b)(6) testimony must be produced in advance of the deposition.

Separate production is not required for documents that have been produced through the party’s

regular document production. Absent extremely good cause, the provisions in this section shall

not entitle a party to re-open any 30(b)(6) deposition, or portion of such a deposition, that has

already been concluded.

       4.      Where the 30(b)(6) deponent is also a fact witness, the parties shall prioritize the

production of the deponent's custodial file and other relevant documents.

       5.      Where a fact deponent is also designated for 30(b)(6) topics, the party taking the

deposition shall have 7 hours for the fact deposition and such additional time as needed for the

30(b)(6) topics, recognizing that the time devoted to the 30(b)(6) topics will count toward the

party's 30(b)(6) deposition time limit.



                           Amendment of Fact Sheet Implementation Order

       Paragraph 1 of the Fact Sheet Implementation Order (Doc. # 638) is amended to provide

as follows: For all non-Track One trial cases, Plaintiffs that are Governmental Entities shall

provide a completed Plaintiff Fact Sheet ("PFS") in each case in the form attached as Exhibit A



                                                  6
      Case: 1:17-md-02804 Doc #: 941 Filed: 09/06/18 7 of 7. PageID #: 21382




pursuant to the following schedule: (a) on or before December 17, 2018 for any Plaintiff whose

case has been docketed in this MDL on or before the date of this Order; or (b) within 90 days

from the date the case is docketed in this MDL for any Plaintiff whose case is docketed after the

date of this Order.



                         Amendment of Case Management Order One

        Section 10. Expert Reports and Expert Materials is amended to provide:

               1.      Each party shall produce, at the same time it serves the disclosures and

other materials required under Fed. R. Civ. P. 26(a)(2) for each of its experts, the “facts or data

considered by the witness in forming” the expert’s opinions. Documents relied upon that were

produced in discovery in this case by any party may be identified by Bates numbers and need not

be produced; and materials that are publicly and easily available without cost (e.g., over the

Internet) need not be produced. All other data and documents must be produced. Nothing in this

paragraph expands in any way the disclosure requirements of FRCP 26(a)-(b).

               2.       Each party must provide the materials required to be produced, including

work papers, spreadsheets, data sets, and exhibits, in a usable format to allow evaluation of any

analyses performed. To the extent that expert’s work product is designated confidential, it shall

be subject to the Protective Order (CMO No. 2). All documents produced must bear a Bates

Stamp to allow for identification. The parties shall cooperate in exchanging programs or other

materials necessary to allow full review and evaluation of the disclosed expert analyses. Nothing

in this paragraph expands in any way the disclosure requirements of FRCP 26(a)-(b).

       IT IS SO ORDERED.
                                                      /s/ David R. Cohen
                                                      David R. Cohen
                                                      Special Master
Dated: September 6, 2018
                                                  7
